    Case 3:16-cv-01973-MEM-WIA Document 196 Filed 05/23/22 Page 1 of 4




                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANICE SHORTER, PERSONAL        :
REPRESENTATIVE AND LEGAL        :                  NO. 3:16-CV-01973
GUARDIAN FOR DONSHAY SAYLES, :
                                :
             Plaintiff,         :
                                :                  (Judge Mannion)
         v.                     :                  (Magistrate Judge Arbuckle)
                                :
CHARLES E. SAMUELS, JR., ET AL. :                  Electronically Filed
                                :
             Defendants.        :

 SUPPLEMENTAL STATEMENT OF MATERIAL FACTS IN SUPPORT
 OF MOTION FOR SUMMARY JUDGMENT BY BIVENS DEFENDANTS

      In accordance with the Court’s order of May 10, 2022, (Dkt. No. 195), the

Bivens Defendants submit the following supplemental statement of material facts in

support of their motion for summary judgment pursuant to Fed. R. Civ. P. 56. See

Dkt. Nos. 95, 99, 100, 100-1, and 111. None of the facts in this submission alters,

changes, or revises any of the facts described in the Bivens Defendants’ original

statement of material facts. See Dkt. No. 100.

      1.    On May 21, 2014, after learning about the May 16, 2014, altercation

between Wing and Sayles, Janice Shorter wrote an email to the BOP expressing

“concern that Donshay was being harassed by the guards and Lieutenant as well as
      Case 3:16-cv-01973-MEM-WIA Document 196 Filed 05/23/22 Page 2 of 4




fellow prisoners.” See Exhibit K. She further wrote, “I received a letter that he

was trying to stay in confinement to PREVENT from being hurt by those threatening

him and yet he still wound up hurt and is on life support.” Id. (emphasis in original).

       2.    As of May 21, 2014, Ms. Shorter stated that she “will do anything to

bring to for front [sic.] any mishandling while he was in custody at [USP Canaan].”

Id.

       3.    As of May 21, 2014, Ms. Shorter believed that BOP staff “failed

[Sayles] while he was supposed to be safe.” Id.

       4.    On August 21, 2014, Wing wrote a letter to Christopher Heavens. See

Exhibit L.

       5.    Heavens’ office received that letter on August 26, 2014. Id.

       6.    Wing, in reference to his altercation with Sayles, represented in the

letter that “[t]he BOP was beyond negligent[;] they actually orchestrated all that

occurred, and I can prove it ten times over because they fucked up and left a trail.

It will blow your mind. Trust me, compared to what really happened, negligence




                                          2
     Case 3:16-cv-01973-MEM-WIA Document 196 Filed 05/23/22 Page 3 of 4




would make them appear professional and competent. I can give you their heads

on a platter.” Id.

                                          Respectfully submitted,

                                          JOHN C. GURGANUS
                                          United States Attorney


                                          /s/ Richard D. Euliss
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Dated: May 23, 2022




                                      3
    Case 3:16-cv-01973-MEM-WIA Document 196 Filed 05/23/22 Page 4 of 4




                UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANICE SHORTER, PERSONAL        :
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                                :                  (Judge Mannion)
         v.                     :                  (Magistrate Judge Arbuckle)
                                :
CHARLES E. SAMUELS, JR., ET AL. :                  Electronically Filed
                                :
             Defendants.        :

                   CERTIFICATE OF SERVICE VIA ECF

      The undersigned hereby certifies that she is an employee in the Office of the
United States Attorney for the Middle District of Pennsylvania and is a person of
such age and discretion as to be competent to serve papers. That on May 23, 2022,
she caused to be served a copy of the attached

 SUPPLEMENTAL STATEMENT OF MATERIAL FACTS IN SUPPORT
 OF MOTION FOR SUMMARY JUDGMENT BY BIVENS DEFENDANTS

by electronic service pursuant to Local Rule 5.7 and Standing Order 05-6, & 12.2
to the following individual(s):

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                                      /s/ Cynthia E. Roman
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                                      Supv. Paralegal Specialist
